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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
 SIS, LLC,
         Plaintiff,
                                                    Cause No. 1:21-cv-5219-ELR
    v.
 ORION GROUP HOLDINGS, INC.,

         Defendant.
                 JOINT MOTION TO TRANSFER CASE AND
          MOOTING DEFENDANT ORION’S MOTION TO DISMISS
                 FOR LACK OF PERSONAL JURISDICTION

         Plaintiff SIS, LLC (“SIS”) and Defendant Orion Group Holdings, Inc.

(“Orion”) (collectively, the “Parties”) jointly move the Court for entry of an Order

transferring this case to the U.S. District Court for the Southern District of Texas,

Houston Division, and deeming as moot Orion’s March 8, 2022 Motion to Dismiss

for Lack of Personal Jurisdiction, ECF 26, on the following grounds:

         1.    The Parties disagree as to whether Orion is subject to personal

jurisdiction in the Northern District of Georgia, Atlanta Division; however, the

Parties agree that the U.S. District Court for the Southern District of Texas, Houston

Division, may lawfully exercise personal jurisdiction over Orion.

         2.    Further, the Parties disagree as to whether Orion performed in the

Northern District of Georgia, Atlanta Division, under the contract that is the subject

of this suit and, whether its alleged breach occurred herein; nonetheless, the Parties


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agree that Orion’s principal place of business is in Houston, Texas and the U.S.

District Court for the Southern District of Texas, Houston Division, may lawfully

exercise venue over the claims herein.

      3.     Counsel for the Parties have conferred and agree that the interests of

justice, judicial economy, and convenience of the Parties and witnesses are best

served if the case is transferred to the U.S. District Court for the Southern District

of Texas, Houston Division, because that is the venue of Orion’s principal place of

business and the home of its primary witnesses.

                      ARGUMENTS AND AUTHORITIES

      4.     When considering a motion to dismiss, the district court may transfer a

case to any district or division in which the case could have been brought under

either 28 U.S.C. § 1631 or 28 U.S.C. § 1406(a). See Orafol Americas, Inc. v. DBi

Servs., LLC, No. 1:16-CV-3516-SCJ, 2017 WL 3473217, at *3 (N.D. Ga. July 20,

2017) (J. Jones).

      5.     The former statute, 28 U.S.C. § 1631, provides that, where a court finds

personal jurisdiction to be lacking, the court may in the “interest of justice,” transfer

the case or appeal to any other such court in which the action could have been

brought at the time it was filed. 28 U.S.C. § 1631; see also Orafol Americas, Inc.,

2017 WL 3473217, at *3.




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      6.     Similarly, 28 U.S.C. § 1406(a) allows for transfer of a case brought in

the wrong venue to a district in which the case could have been brought if such

transfer serves the “interest of justice.” 28 U.S.C. § 1406(a); see also Orafol

Americas, Inc., 2017 WL 3473217, at *3. Venue is improper in this district if the

defendant resides in a state other than Georgia and a “substantial part of the events

or omissions giving rise to the claim” occurred elsewhere. Id. (citing 28 U.S.C. §

1391(b)). In such case, venue is proper where a “substantial part of the events or

omissions giving rise to the claim” occurred. Id.

      7.     “The interests of justice generally favor transferring a case to the

appropriate judicial district rather than dismissing it.” Id. (citing Hemispherx

Biopharma, Inc. v. MidSouth Capital, Inc., 669 F. Supp. 2d 1353, 1359 (S.D. Fla.

2009) and 14D Fed. Prac. & Proc. Juris. § 3827 (4th ed.) (“In most cases of improper

venue, the courts conclude that it is in the interest of justice to transfer to a proper

forum rather than to dismiss the litigation.”)). The Court has broad discretion in

deciding whether to transfer a case in these circumstances. Id. (citing Roofing Sheet

Metal Servs., Inc. v. La Quinta Motor Inns, Inc., 689 F.2d 982, 985 (11th Cir. 1982)).

      8.     Rather than engage in motion practice concerning their disagreements

as to the facts underlying personal jurisdiction and venue, the Parties prefer to

voluntarily transfer the case to a forum in which they agree both personal jurisdiction

and venue are proper. Transfer under these circumstances serves the interest of


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justice and judicial economy by avoiding motion practice and the time and expense

for same. In addition, several witnesses reside in the district served by the U.S.

District Court for the Southern District of Texas, Houston Division. Thus, transfer

to that district also serves the interest of convenience for the Parties and witnesses.

                              PRAYER FOR RELIEF

      WHEREFORE, the Parties respectfully move the Court to transfer this case

to the U.S. District Court for the Southern District of Texas, Houston Division, and

deem as moot Orion’s pending Motion to Dismiss for Lack of Personal Jurisdiction,

ECF 26, as well as any other relief that this Court deems just and appropriate.

   DATED: March ___, 2022

                                 Respectfully submitted,


                                 CHRISTIANSEN DAVIS, LLC


                                 By: ______________________
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           L.R. 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Rule 5.1(c) of the Civil Local rules of

Practice for the above-referenced Court, specifically, Times New Roman 14 point.


                                            Amy E. Davis




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                          CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will automatically send email
notification of such filing to the following attorneys of record:

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This ______ day of March, 2022.


                                        /s/ Amy E. Davis
                                        Amy E. Davis




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